DOCUMENTS UNDER SEAL
                    Case 3:21-mj-70422-MAG Document 8 Filed 03/12/21 Page 110
                                                         TOTAL TIME (m ins):
                                                                             of minutes
                                                                                1
MAGISTRATE JUDGE                          DEPUTY CLERK                              REPORTER/FTR
MINUTE ORDER=220                       Melinda K. Lock                           Zoom Recording Time: 11:36-11:46
MAGISTRATE JUDGE                           DATE                                      NEW CASE         CASE NUMBER
SALLIE KIM                                March 12, 2021                                             3:21-mj-70422-MAG-2
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.     RET.
Joseph Huffaker                            36       N        P       Jonathan Rapel                          APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT              COUNSEL APPT'D
Cynthia Frey                                                                       SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR               PARTIAL PAYMENT
                             Ana Mendoza                             APPT'D COUNSEL                 OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                             STATUS
      held                                                                                                     TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT              BOND HEARING             IA REV PROB. or            OTHER
                                                                                    or S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA              PROB. REVOC.               ATTY APPT
                                                                                                               HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS                OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                          RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY        SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND            $ 0.00                                               SURRENDERED
                                                                                                          DATE: 3/15/2021
PROPERTY TO BE POSTED                           CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                 DETAINED         RELEASED        DETENTION HEARING               REMANDED
      FOR              SERVICES                                                  AND FORMAL FINDINGS             TO CUSTODY
      DETENTION        REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                     NOT GUILTY                  GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                          FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                    STATUS RE:
4/26/2021                         HEARING                  HEARING                 CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.             PRELIMINARY            CHANGE OF                 67$786
                                  AFFIDAVIT                 HEARING                PLEA                     Re: Preliminary Hrg
10:30 AM                                                    BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                 $55$,*1MENT             MOTIONS                  JUDGMENT &
                                  HEARING                                                                    SENTENCING
Jacqueline Scott Corley
        TIME W AIVED              TIME EXCLUDABLE           IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC            REMOVAL                CONFERENCE                HEARING
                                  3161                      HEARING
                                                 ADDITIONAL PROCEEDINGS
Defendant waives personal appearance and consents to proceeding by video. DPPA advised. The Court orders the entire
case unsealed. Defense counsel's request to be admitted to this district is currently pending. Matter will be placed on calendar
for a bond hearing once Pretrial Services has completed a report. Defendant to contact Pretrial Services on Monday 3/15/2021.
                                                                                         DOCUMENT NUMBER:
